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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MAHMOOD GAZANI                                §
    plaintiff                                 §
                                              §               CA No. ____________________
vs.                                           §
                                              §
CITY OF HOUSTON                               §
      defendants                              §               JURY TRIAL DEMANDED


                          PLAINTIFF’S ORIGINAL COMPLAINT

       Comes now Plaintiff Mahmood Gazani (“Plaintiff” hereinafter or “Gazani”) and files this

his Original Petition complaining of the City of Houston, and in support thereof would show this

Honorable Court as follows:

                                           I. PARTIES

1.     Plaintiff Mahmood Gazani is an individual residing in Harris County, Houston, Texas.

2.     Defendant City of Houston(“HTX”) is a municipality situated in Harris County, Texas, in

       the U.S. Southern District of Texas, and can be served through the City Secretary located at

       901 Bagby Houston, Texas 77002.

3.     Defendant may also be served through its counsel of record, City of Houston Legal

       Department, P.O. BOX 368, Houston, Texas 77001-0368.


                                II. JURISDICTION & VENUE

4.     Jurisdiction is proper pursuant to Texas Labor Code §§21.000 et seq.. All jurisdictional

       prerequisites and conditions precedent, pursuant to TRCP Rule 54, have been met. Defendant

       CITY OF HOUSTON qualifies as an "employer" under §21.002(8)(a) of the Texas Labor

       Code. Venue and Jurisdiction are also proper in this district under 28 U.S.C. § 1391(b) as a

       substantial part of the events or omissions giving rise to the claim occurred in this District.



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5.     Venue is proper in Harris County, Texas because it is the county in which all or a substantial

       part of the events or omissions giving rise to the Plaintiff's claims occurred pursuant to Tex.

       Civ. Prac. & Rem. Code §15.002(a)(1), Harris is the County in which the Plaintiff resides,

       and the Defendant, City of Houston, as a municipality is partially located within Harris

       County, in the State of Texas. (Tex. Civ. Prac. Rem. Code §15.002(a)(3)). This cause also

       arises under Federal Question, pursuant 42 USC 2000e.


                   III. EXHAUSTION OF ADMINISTRATIVE REMEDY

6.     Pursuant to the language of 42 U.S.C. § 1981 et seq, there is no administrative filing

       requirement with any agency under the purview of the United States government, hence no

       requirement to be met prior to bringing a claim, under this statute, in a court of competent

       jurisdiction.

7.     Pursuant to 28 U.S.C. § 1658(a), there is a four (4) year statute of limitations on any claim

       brought under 42 U.S.C. § 1981. As the incident made the crux of this case occurred on or

       about June 15th, 2019, Plaintiff affirms that cause is brought within the statute of limitations.

8.     Mr. Williams exhausted his administrative remedies pursuant to the requirements of 42

       U.S.C. § 2000e et seq, and has taken all steps necessary to bring the causes of action made

       the subject of this litigation.

9.     On or about April 21st , 2021, Mr. Gazani filed his amended FORM 5 Charge of

       Discrimination with the Equal Employment Opportunity Commission. [ Plaintiff’s Exhibit

       A ] Designated by Charge Number 460-2022-01060, the charge clearly outlines claims for

       Discrimination and Retaliation based on the Claimant’s age.

10.    Officer Gazani had initially filed his complaint in a time frame reaching back to February

       15th, 2015, with his latest concern of adverse action dated to August 23rd, 2021 – and marked

       his concerns as a “Continuing Action” as the discrimination and retaliation against him were


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       on-going as of the date of his initial submission, as well as the date of the amendment to the

       charge.

11.    On or about April 26th, 2022, Mr. Gazani received a Dismissal and Notice of Rights

       Letter [ Plaintiff’s Exhibit B & C ] by the Equal Employment Opportunity Commission.

       This letter qualifies Ms. Gazani’s right to initiate litigation, giving an operational window

       of ninety (90) days from the above date.

12.    “Authorization to the aggrieved person to bring a civil action under title VII, the ADA, or

       GINA pursuant to section 706(f)(1) of title VII, section 107 of the ADA, or section 207 of

       GINA within 90 days from receipt of such authorization...” see 29 CFR §1601.28 (e)(1)

       (emphasis added)

                               IV. FACTUAL ALLEGATIONS

13.    On or about February 2, 2015, Mahmood Gazani was hired to work for the Houston

       Police Department as a Police Officer. Officer Gazani was qualified for the position. To

       present date, Officer Gazani maintains an exemplary work history with the Houston

       Police Department.

14.    On or about August 15, 2021, Officer Gazani was unable to turn in his Probationary

       Police Officer (herein after referred to as PPO) paperwork due to some personal issues.

       Officer Gazani notified Sergeant Miller that he was unable to complete his paperwork for

       that day to which Sergeant Miller responded that Officer Gazani was "Fucking with his

       money." Officer Gazani began working on the paperwork around 2330 hours and

       reported to Sergeant Miller of its completion.

15.    After the incident with Sergeant Miller, Officer Gazani brought up that it was not feasible

       to have PPOs read and sign paperwork in the late hours of the evening when they were

       not on duty. Sergeant Miller disagreed and stated that the department demanded the



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       paperwork to be signed as a condition of employment and the PPO were not to be

       compensated for working off the clock.

16.    On or about August 16th, 2021, Officer Gazani received a phone call from Sergeant

       Miller requesting PPOs to issue citations on traffic stops instead of giving warnings as

       Sergeant Miller did not believe it "served a purpose to stop and give warnings."

17.    Officer Gazani discussed with Sergeant Miller that he felt as though Sergeant Miller was

       setting up a quota for traffic stops. (A practice which he believed to be illegal.) Officer

       Gazani did not feel as though minor traffic violations, such as single moving or

       non-moving violations, required citations. Sergeant Miller told Officer Gazani that

       moving violations must be written and for every three traffic stops, Sergeant Miller

       expected one or two citations to be given. (Another practice which Mr. Gazani believed

       to be illegal.)

18.    Sergeant Miller also insisted that PPOs did not have discretion when it came to traffic

       stops during the Evaluation Phase as PPOs were not full pledge officers yet due to their

       probationary status. Officer Gazani disagreed with this statement and stated that PPOs

       are full pledge officers as they had been sworn in upon completion of their training in the

       Police Academy and therefore would be regulated by the same rules and have the same

       rights as any other police officer.

19.    Officer Gazani also suggested other solutions such as having copies of citations with no

       citation numbers on them for the PPOs who did not see it necessary to issue a citation

       during a traffic stop. The purpose of this was to still give the PPOs the necessary field

       training needed during their Evaluation Phase. Sergeant Miller immediately declined the

       suggestion and Officer Gazani and Sergeant Miller agreed to take the matter to Lieutenant

       Sulla to discuss the matter further.



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20.    On or about August 20, 2021, PPO Covert reported to Officer Gazani that he was

       approached by Sergeant Miller after roll call the day before and informed that he did not

       have discretion during the Evaluation Phase and PPO Covert was expected to issue

       citations for all traffic stops. Officer Gazani approached the acting Lieutenant on evening

       shift, Sergeant Casterenvancatenburch, and explained that he was concerned about being

       in violation of the State Law for setting a quota for citations with officers.

21.    On or about 1540 hours, Sergeant Miller sent a text message to Officer Gazani stating

       that he was upset about Officer Gazani taking his concerns of being in violation of the

       State Law to another supervisor. Sergeant Miller stated that they were to take the issue to

       Lieutenant Sulla. Sergeant Miller failed to acknowledge that agreement when Sergeant

       Miller approached PPO Covert to inform him that he no longer had discretion during

       traffic stops. Officer Gazani requested to speak to Lieutenant Sulla however was

       informed by Sergeant Miller that Lieutenant Sulla would not be at work that evening.

22.    Officer Gazani was asked later the same day by acting Lieutenant, Sergeant

       Casterenvancatenburch, to meet him at the station after calling out to eat. As Officer

       Gazani approached Sergeant Casterenvancatenburch's office, Sergeant Miller who was

       inside, yelled at Officer Gazani to stand by outside. Moments later, Officer Gazani was

       asked to walk to the back of the station where Sergeant Miller's office was. Officer

       Gazani entered the office with Sergeant Miller and Sergeant Casterenvancatenburch.

23.    Sergeant Casterenvancatenburch agreed with Officer Gazani that PPOs were full pledged

       officers as they were sworn in by the academy and their PPO status did not remove their

       right to discretion during traffic stops. Sergeant Miller disagreed with Officer Gazani and

       Sergeant Casterenvancatenburch and held his opinion that PPOs did not have discretion.

       Sergeant Miller also did not recall approaching PPO Covert at all to inform him of the



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       fact that he did not have discretion as a PPO. The meeting ended with the agreement to

       present that matter to Lieutenant Sulla.

24.    On or about August 21st, 2021, Officer Gazani met with Lieutenant Sulla, Sergeant

       Miller, and acting commander Lieutenant Nguyen. During the meeting, Officer Gazani

       presented a hard copy of: TRANSPORTATION CODE, TITLE 7. VEHICLES AND

       TRAFFIC, SUBTITLE I. ENFORCEMENT OF TRAFFIC LAWS, CHAPTER 720.

       MISCELLANEOUS PROVISIONS.

25.    Officer Gazani explained that he swore to adhere to the laws and how he takes every step

       to consider the citizens he has sworn to protect. Officer Gazani provided many examples

       of discretion that he has utilized throughout his years of employment through the Houston

       Police Department as a patrolman, trainer, and evaluator. Officer Gazani also used

       personal examples from his experience with the Iranian Government, the government

       who took power over Iran which is the country Officer Gazani was born and raised in.

       He explained that the Iranian Government had lost the public's trust by being careless and

       inconsiderate when dealing with the nation's citizens. Officer Gazani explained that what

       he experienced in that country is the reason why he always considers the citizens favor

       while conducting police work.

26.    Leiutenant Sulla responded, "This is not your country and we run things differently here."

       Lieutenant Sulla and Sergeant Miller disagreed with Officer Gazani's point of view and

       presented multiple areas in the department policy that Officer Gazani's opinions did not

       provide a clear resolution to the issue at hand.

27.    Later in the meeting, Sergeant Miller presented the suggestion of providing copies of

       citations to PPOs to fill out. Sergeant Miller stated a night shift supervisor had presented

       the idea him and thought it was genius. He stated that if Officer Gazani has presented the

       same suggestion, he would have accepted it. Officer Gazani had presented the idea to

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       Sergeant Miller on or about August 16th, 2021.

28.    Officer Gazani took this meeting as an opportunity to openly discuss Sergeant Miller's

       hostility towards him causing Officer Gazani to feel threatened and disregarded. Officer

       Gazani was informed that he could take the matter to the Internal Affairs Department

       (hereafter referred to IAD). Officer Gazani was informed that if he chose to take the

       matter to IAD, that the officials present in the current meeting would have to write letters

       to which they did not care as they had written many letters before.

29.    Lieutenant Sulla then stated that if Officer Gazani decided to go to IAD that he would be

       reported as being in violation of the department policy for being insubordinate as well as

       a few other violations of the department policy.

30.    Officer Gazani stated his intention was not to get anyone in trouble and just wanted to

       follow department policy and get legal advice from legal professionals. Lieutenant

       Nguyen asked at the end of the meeting what Officer Gazani was requesting which

       Officer Gazani responded that he wanted legal clarification regarding discretion to the

       officers. Lieutenant Nguyen permitted Officer Gazani to write a letter requesting legal

       clarification on the issue at hand.

31.    Days later, Officer Gazani crafted and titled a letter "Legal Advice Request" and

       submitted the draft letter via email to Sergeant Miller (Reference to G.O. GO 200-3 P2, 2,

       300-11 P5 Section 4, 300-11 P7 section 6. for violations of department policy).

32.    On or about August 23rd, 2021, Officer Gazani resigned from his position as a Field

       Training Officer within the Field Training Office via email to Sergeant Miller. Sergeant

       Miller accepted Officer Gazani's resignation and forwarded it through the chain of

       command to include Lieutenant Barber.




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33.    That same day, Sergeant Miller informed Officer Gazani that he needed to meet with his

       shift Lieutenant, Lieutenant Barber. Lieutenant Barber informed Officer Gazani that the

       meeting would include Sergeant Miller and Command Nguyen in order for Officer

       Gazani to not feel as though he was being interrogated.

34.    During the meeting, the issue of PPO having discretion was discussed in great length.

       Lieutenant Barber told Officer Gazani it was not Officer Gazani's business to be

       concerned with citizen's financial hardship and per Commander Nguyen, all officers were

       expected to issue citations on traffic stops, specifically moving violations. The issue of

       Sergeant Miller removing discretion from PPO Covert was revisited and Sergeant Miller

       denied his statement about not speaking with PPO Covert but admitted to speaking with

       him on or about August 19th, 2021 after roll call.

35.    During this meeting, Commander Nguyen permitted Officer Gazani to write and submit a

       letter asking for legal clarification, but it had to be through the Houston Police Academy

       and not the Internal Affairs Department. Officer Gazani was later notified by Sergeant

       Miller that Officer Gazani was to use the chain of command submitting the printed letter.

       The letter was to go through Sergeant Miller, Lieutenant Sulla. Commander Nguyen and

       then to the Commander of training.

36.    On or about August 30th, 2021, Officer Gazani submitted the signed printed letter to

       Sergeant Miller. Sergeant Miller informed Officer Gazani that he needed to change the

       title of his letter as well as the wording. Officer Gazani respectfully declined to change

       anything and reminded Sergeant Miiller that the title was already approved through

       Commander Nguyen. Seargeant Miller agreed to accept Officer Gazani's letter, so

       Officer Gazani reprinted and resubmitted the letter that same day. (Reference to G.O.

       300-11 P4 for violations of department policy.)



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37.    On or about August 31st, 2021, Officer Gazani received an email from Sergeant Miller

       stating that Officer Gazani's letter was submitted to Lieutenant Sulla – however,

       Lieutenant Sulla was not willing to sign the letter due to the wording of the letter,

       insinuating that Officer Gazani had been given an Unlawful Order. Sergeant Miller

       implied that Officer Gazani needed to change the title of his letter from Legal

       Clarification to Clarification of Policy and Not Legal Opinion. (Reference to GO 300-11

       P5 for violation of department policy).

38.    On or about September 6th, 2021, Officer Gazani was contacted by Representative Officer

       Spjut (Officer Spjut was a previous trainee of Officer Gazani) regarding a rumor that was

       going around the station. Officer Spjut had been contacted by Officer Kuccia regarding

       Officer Gazani. Officer Kuccia had been informed from Sergeant Miller that Officer

       Gazani was no longer allowed to train PPO's due to being in trouble with IAD.

       (Reference to G.O. 300-11 P7 Section 6, 300-11 P9, 300-11 P9 Section 8, 300-11 P10 for

       department policy violations.)

39.    On or about September 9th, 2021, Officer Gazani approached Lieutenant Barber about the

       best way to dissolve the rumors going around the station. Lieutenant Barber stated that

       you cannot stop officers from spreading rumors. Officer Gazani asked permission from

       Lieutenant Barber to request that Sergeant Miller either serve Officer Gazani with his

       48-hour notice per the departments policy – if he was in trouble with IAD – or publicly

       announce that Officer Gazani had resigned from his position as Field Trainer and

       Evaluator. Lieutenant Barber declined Officer Gazani's request. (Reference to G.O.

       300-11 P4 for violation of policy)

40.    On or about September 10th, 2021, Officer Gazani went to the Houston Police

       Department Headquarters at 1200 Travis St., Houston, Texas to file a complaint. Officer

       Gazani spoke to Sergeant Milligan about the large amount of issues Officer Gazani had

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       been facing in the station and Sergeant Milligan suggested that ADR would be a better

       approach to resolving the issues Officer Gazani was experiencing. Sergeant Milligan

       stated that there was a chance the complaint may be sent back to IAD at some point.

41.    That same day, Officer Gazani spoke with ADR staff and completed an Issue Resolution

       record form. This form was submitted through the proper channels. Officer Gazani was

       informed that Commander Nguyen should reach out to Officer Gazani in a few days as

       this was the last chance to have the legal clarification request to be submitted through the

       chain of command at the Northwest Station.

42.    On or about October 18th, 2021, Lieutenant Barber asked Officer Gazani if the ETC issue

       had been resolved and if Officer Gazani had followed the Commander's orders and

       submitted the letter through the chain of command to the Commander of the Houston

       Police Department Academy. Officer Gazani explained that he had attempted however

       his attempts were obstructed via Sergeant Miller and Lieutenant Sulla requesting for

       Officer Gazani to change the title of his letter to Clarification of Policy and Not Legal

       advice, change the format of the quoted law, and the content of the letter to not insinuate

       that Officer Gazani had been given an Unlawful Order.

43.    Officer Gazani explained to Lieutenant Barber that he respectfully declined to change his

       letter in any sense as it was his right to ask the question in the way he presented it.

       Lieutenant Barber ordered Officer Gazani to only change the formatting of the quoted law

       and to leave the letter in Lieutenant Barber's office mailbox. Officer Gazani followed

       instructions and left the letter within Lieutenant Barber's mailbox signed and dated the

       same day. (Reference to G.O. 300-26 P3, 300-11 P10 for violations of department

       policy)

44.    On or about November 17th, 2021, Officer Spjut contacted Officer Gazani to provide

       Officer Gazani and update on the ADR/ERC process. Officer Spjut explained that he had

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       a meeting with the higher-ups within the chain of command to include the Chief of Police

       as well as Commander Nguyen, Lieutenant Nguyen, and Sergeant Singleton. Lieutenant

       Nguyen and Sergeant Singleton were administrative staff at the Northwest Station.

45.    Prior to the meeting, Sergeant Singleton asked Officer Spjut if he was planning on

       addressing Officer Gazani's ADR issue with the Police Chief. Officer Spjut responded

       that he was not planning on discussing Officer Gazani's issue during the meeting because

       no resolution was achieved thus far, and that Assistant Chief Bashir was working on the

       matter. Officer Spjut also stated he had spoken with the Assistant Chief Bashir after the

       meeting and understood that they were pending a response from him within a few days

       for the ADR paperwork Officer Gazani had submitted.

46.    Officer Spjut also stated that Sergeant Singleton in the presence of Lieutenant Nguyen

       stated that Officer Spjut should just tell the Chief of Police that Officer Gazani was lying,

       and Sergeant Miller would never make such a statement in regard to removing discretion

       from officers and potentially setting up a quota system for traffic citations. (Reference to

       G.O. 300-26 P2, 300-11 P4, 300-11 P5 Section 4, 300-11 P7 Section 6. 300-11 P9,

       300-11 P9 Section 8, 300-11 P10 for violations of department policy.)

47.    On or about November 19th, 2021, Officer Gazani drove back to the Houston Police

       Headquarters and spoke to Sergeant Segura regarding the meeting Officer Spjut had just

       had with the higher-ups. Officer Gazani became fearful that an uninvolved member of

       his chain of command could try and dilute the Assistant Chief of Police's decision

       regarding Officer Gazani's request for legal clarification. Officer Gazani in detail

       explained the events that had transpired at the Northwest Station to Sergeant Segura.

       Sergeant Segura instructed Officer Gazani to leave for the day and write a detailed

       statement of events and reach back out to him if Officer Gazani had not heard back from

       Sergeant Segura regarding the next steps in the process. Officer Gazani left the

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       headquarters and went to work. (Reference to G.O. 200-3 P4, 300-11 P9, 300-11 P9

       Section 8, 300-11 P10 for violations of department policy).

48.    On or about December 12th, 2021, Officer Gazani received correspondence from Officer

       Spjut that included a one-page letter from Assistant Chief of Police Bashir that included

       statements that Officer Gazani did not contain clear legal clarification on Officer Gazani's

       concerns. Officer Gazani requested that Officer Spjut to reach out to Gary Gano and

       follow proper procedures for getting a proper and clear response. Mr. Gano denied the

       request and responded, "The department has responded to the employee's issue as the

       ERC process requires and the issue has been closed." Officer Gazani was then referred to

       the Union and COP. (Reference to G.O. 300-12 Page 4 for violation of policy).

49.    On or about December 21st, 2021, Officer Gazani was on vacation. During his vacation,

       Officer Gazani had received a request for a zoom call with the Harris County District

       Attorney regarding a Capital Murder case. Officer Gazani was on the zoom call for

       approximately an hour. Officer Gazani reached out to Sergeant Tudyk to be compensated

       for the hour he spent speaking with the Assistant District Attorney. Sergeant Tudyk

       stated that Officer Gazani would not be compensated for speaking to the Assistant

       District Attorney about a case.

50.    On or about December 31st, 2021, Officer Gazani took his second COVID-19 booster

       shot that was highly suggested throughout the city of Houston. After the booster, Officer

       Gazani started feeling minor symptoms and as a result, Officer Gazani called out of work

       to treat the symptoms and prevent a possible incident at work. Sergeant A. Miller was the

       desk supervisor that night. Sergeant Miller became upset with Officer Gazani and stated

       Lieutenant Barber expected everyone to come to work and Officer Gazani calling out of

       work left only 1 unit on early side in District 4. A few days later, Officer Gazani's

       symptoms became worse, and he tested himself for COVID-19. The result of Officer

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       Gazani's test was positive, and Officer Gazani was forced to take more time off. It was

       until later that Officer Gazani realized that the time off, he had taken had been marked

       down as an unscheduled absence and not as COVID-19 related medical leave.

51.    On or about February 18th, 2022, Officer Gazani met with Commander Nguyen and

       Lieutenant Barber to discuss a pending IAD investigation that was against Officer

       Gazani. Officer Gazani was informed that he was being cited for two violations that

       Officer Gazani did not believe applied to him given the circumstances of the situation.

       Sergeant Terry had spoke to Officer Gazani previously about getting HIPAA releases at

       hospitals regardless of circumstances. An incident occurred at the hospital for Officer

       Gazani following direct orders from his Sergeant. Officer Gazani explained that he had

       already been coached on location of the hospital the date of the incident by the Lieutenant

       that arrived on scene. Officer Gazani later received notice by the station IAD that a

       formal complaint was filed against him. Officer Gazani explained that even though he

       was following direct orders, the treatment and violations he was incurring was unfair.

       Commander Nguyen stated that the IAD issue was not serious and it was being forwarded

       for a committee review.

52.    Later that same day as a result from the IAD investigation, Officer Gazani was informed

       by Sergeant Terry that he was being ordered to lower Officer Gazani's bi-monthly

       employee evaluation points from five-out-of-five to two-out-of-five in professionalism.

       Officer Gazani requested a copy of the evaluation and did not receive it.

53.    Sergeant Terry informed Officer Gazani that the pending IAD investigation against

       Officer Gazani had been concluded and that was why he was being forced to reduce the

       evaluation points. Officer Gazani informed Sergeant Terry that based on Officer Gazani's

       prior meeting with Commander Nguyen and Lieutenant Barber, that the disciplinary



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       decision was not final and was being sent to a review board for a final decision. Sergeant

       Terry stated that he had never watched Officer Gazani's body cam footage of the incident

       at the hospital and he believed Officer Gazani was a great officer; but that he, however,

       “had no choice ” than to grade Officer Gazani below acceptable from direct orders from

       Lieutenant Barber.

54.    Sergeant Terry also admitted to Officer Gazani that the higher-ups were upset with

       Officer Gazani due to the previous issue he had with Sergeant Miller and it was likely the

       higher-ups were getting back at Officer Gazani. Sergeant Terry also stated to Officer

       Gazani that he was afraid that if he did not follow direct orders he would be disciplined

       for insubordination. Sergeant Terry stated all this in front of Officer Gazani's partner,

       Officer Tran.

55.    On or about March 17th, 2022, Officer Gazani and his partner Officer Tran on-viewed a

       traffic hazard that involved a DWI driver outside the district but within the city limits.

       Sergeant Jurecek was informed of the event and Officer Gazani and Officer Tran

       requested paid overtime for the DWI processing. Sergeant Jurecek attempted to find

       another unit to take over the call but was unable to locate another unit. Sergeant Jurecek

       approved the paid overtime for Officer Gazani and Officer Tran. During the transport to

       JPC Intox, Sergeant Tudyk called Officer Tran and ordered him to re-route and get

       himself dropped off at the Northwest Substation sign off and leave the DWI to be

       processed by Officer Gazani.

56.    Officer Gazani and Officer Tran followed the order and rerouted away from the JPC and

       towards the Substation. Officer Gazani contacted Watch command and requested to

       speak to a Lieutenant level supervisor following department policy and an order

       previously received from Lieutenant Barber regarding a previous similar situation.

       Sergeant Cordona with Watch command listened to Officer Gazani's concern about

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       processing a DWI by himself and ordered Officer Gazani and Officer Tran to re-route

       back to JPC as a two-man unit. Officer Gazani notified Sergeant Tudyk of the events and

       was ordered to document information in an offense report.

57.    On or about April 7th, 2022, Officer Gazani received multiple notices from Sergeant

       Adams to contact Executive Chief's Secretary as soon as possible to schedule a meeting.

       Officer Gazani contacted the number provided and scheduled a meeting with the office of

       Executive Assistant Chief Satterwhite on April 14th, 2022, at 1430 hours.

58.    During the meeting with the Chief, Officer Gazani realized that the Chief had not

       properly been informed of Officer Gazani's issues with Sergeant Miller regarding

       removing discretion from officers and potentially setting up a quota for traffic violations.

       Officer Gazani took this opportunity to inform the Chief of what had happened and his

       concerns with Sergeant Miller and the steps Officer Gazani had taken to get Legal

       Clarification. After listening to Officer Gazani, Chief Satterwhite ordered Officer Gazani

       to meet with the commander of IAD.

59.    On or about April 14th, 2022, Officer Gazani sent a letter to Troy Finner, the Chief of

       Police, with the subject line stating, "Complaint of Discrimination". Within this letter,

       Officer Gazani reported department policy violations by Assistant Chief Bashir,

       Commander Nguyen, Lieutenant Nguyen, Lieutenant Sulla, Lieutenant Barber, Sergeant

       A. Miller, and Sergeant Singleton. The letter contained a detailed time-line of events

       from Officer Gazani in regard to what has transpired during Officer Gazani's request for

       legal clarification regarding officers not having discretion and a potential quota for traffic

       violations.

60.    On or about April 19th, 2022, Officer Gazani received an Order of No Contact from

       Assistant Chief Hatcher. The order states that Officer Gazani “is to have no contact with



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       Assistant Chief Bashir, Commander Nguyen, Lieutenant Nguyen, Lieutenant Sulla,

       Lieutenant Barber, Sergeant A. Miller, and Sergeant Singleton.” Officer Gazani is

       ordered to have no contact, or be within vicinity of any of the named individuals in the

       No Contact Order regardless of Officer Gazani's duty status.

61.    On or about April 20th, 2022, Officer Gazani received a notice from Troy Finner, the

       Chief of Police. The letter contained a notice of a three-day suspension in accordance

       with the provisions of the TEX. LOC. GOV'T CODE, CAPTER 143. Officer Gazani's

       suspension was to start May 19th, 2022, and end May 21st, 2022. The notice states that

       Officer Gazani was “rude to hospital staff and was also argumentative.” The notice states

       that it was determined that Officer Gazani violated Rules of the Civil Service

       Commision, to wit: Rule V, Section 6, Subsections 9b) and (k), Internal Directives, Order

       No. 100-01 and Order No. 200-08, also Access to Memorial Herman System Facilities,

       Circular No. 18-0510-061. Officer Gazani had the right to appeal the determination

       within 15 days of receipt of the notice of suspension. The notice explained the process to

       appeal.

62.    To present date, it is unknown if Assistant Chief Hatcher, or Chief Finner, have even

       viewed Officer Gazani’s body-cam footage of the incident in question at Memorial

       Hermann.

63.    On or about April 21st, 2022, Officer Gazani filed with the EEOC claiming that he was

       being retaliated against for engaging in protected activities and being discriminated

       against due to his national origin.

64.    On or about April 25th, 2022, Officer Gazani's EEOC claim had been concluded and

       Officer Gazani was awarded a right to letter which Officer Gazani received April 26th,

       2022.



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                                  V. CAUSES OF ACTION

       A.      RACIAL DISCRIMINATION UNDER 42 U.S.C. § 1981

65.    Plaintiff hereby adopts all factual allegations above in haec verba.

66.     Section 1981 prohibits individuals, including other employees, from racial discrimination

       against an employee. See Cardenas v. Massey, 269 F.3d 251, 268 (3d Cir. 2001)

       (“Although claims against individual supervisors are not permitted under Title VII,

        this court has found individual liability under § 1981 when [the defendants]

       intentionally cause an infringement of rights protected by Section 1981, regardless of

       whether the [employer] may also be held liable."); Al-Khazraji v. Saint Francis

       College, 784 F.2d 505, 518 (3d Cir. 1986) (“employees of a corporation may

       become personally liable when they intentionally cause an infringement of rights

       protected by Section 1981, regardless of whether the corporation may also be held

       liable”).

67.    Section 1981 prohibits race discrimination & retaliation, which includes Arab Americans

       within that ambit. For purposes of Section 1981, Arabic is a “race”. See Jatoi v. Hurst-

       Euless Bedford Hosp. Authority, 807 F.2d 1214, 1218 (5th Cir. 1987); Banker v. Time

       Chem., Inc., 579 F. Supp. 1183, 1186 (N.D. Ill. 1983).

68.    In the absence of direct evidence of discrimination, Section 1981 cases are governed by

       the burden-shifting framework set out in McDonnell Douglas Corp. v. Green, 411 U.S.

       792, 802–04 (1973). McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir. 2007);

       Shackelford v. Deloitte & Touche, LLP, 190 F.3d 398, 403 n.2 (5th Cir. 1999) (noting that

       Section 1981 claims and Title VII claims use the same burdens of proof and analysis.)

69.    First, the plaintiff must establish a prima facie case of discrimination, “which requires a

       showing that the plaintiff (1) is a member of a protected group; (2) was qualified for the


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       position at issue; (3) was discharged or suffered some adverse employment action by the

       employer; and (4) was replaced by someone outside his protected group or was treated

       less favorably than other similarly situated employees outside the protected group.”

       McCoy, 492 F.3d at 556; Caldwell v. Univ. of Houston Sys., 520 Fed. Appx. 289, 293

       (5th Cir. 2013); Byers v. Dallas Morning News, Inc., 209 F.3d 419, 425 (5th Cir. 2000).

70.    If the plaintiff makes a prima facie showing of discrimination, the employer must then

       provide a legitimate, non-discriminatory reason for the employment action. Byers, 209

       F.3d at 425. “The burden on the employer at this stage is one of production, not

       persuasion; it can involve no credibility assessment.” Alvarado v. Tex. Rangers, 492 F.3d

       605, 611 (5th Cir. 2007) (quotations and citations omitted).

71.    If the employer provides a legitimate, non-discriminatory reason, “the burden shifts back

       to the plaintiff to establish either: (1) that the employer's proffered reason is not true but is

       instead a pretext for discrimination; or (2) that the employer’s reason, while true, is not

       the only reason for its conduct, and another ‘motivating factor’ is the plaintiff's protected

       characteristic.” Id. (citation omitted). “Although intermediate evidentiary burdens shift

       back and forth under this framework, ‘[t]he ultimate burden of persuading the trier of fact

       that the defendant intentionally discriminated against the plaintiff remains at all times

       with the plaintiff.’” Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133, 143 (2000)

       (quoting Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 249 (1981)).


       B.      NATIONAL ORIGIN DISCRIMINATION UNDER TITLE VII

72.    Plaintiff hereby adopts all factual allegations above in haec verba.

73.    A claim of intentional discrimination may be proved by either direct

       or circumstantial evidence. See Wallace v. Methodist Hosp. Sys. 271 F.3d 212, 219 (5th

       Cir. 2001). In cases of circumstantial evidence, courts usually follow the burden shifting


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       analysis articulated in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973), for

       indirect discrimination claims. See McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th

       Cir. 2007); Wheeler v. BL Dev. Corp., 415 F.3d 399, 405 (5th Cir. 2005).

74.    To establish a prima facie case of discrimination, a plaintiff must establish he: (1) is a

       member of a protected class; (2) was qualified for the position at issue; (3) was subjected

       to an adverse employment action; and (4) was replaced by someone outside the protected

       class, or other similarly situated persons were treated more favorably. McCoy, 492 F.3d

       at 556; Okoye v. Univ. of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 512-13 (5th Cir.

       2001).

75.    In the instant case, Plaintiff is prepared to show that he (1) is a member of the class

       (Iranian/Arabic) who is intended to be protected by the statute; (2) was qualified for the

       position at issue, an irrefutable fact as he was vetted and hired by the Defendant; (3) was

       subject to adverse employment action, in the form of constant harassment by his

       managers at every level, the creation of a hostile work environment, and her ultimate

       unsubstantiated demotion based on false allegations, prior to the completion of an

       investigation by the state of Texas/IAD, as was orchestrated by his employer; and

       (4) other similarly situated persons were treated more favorably.

       C.       RETALIATION UNDER TITLE VII

76.    Plaintiff hereby adopts all factual allegations above in haec verba.

77.    Specifically, Plaintiff would reference the temporal proximity of the sequential

       submission of his complaint of racist behavior to his managers and supervisors, their

       multiple meetings with Mr. Gazani wherein his supervisors attempted to dissuade him

       from filing complaints of any kind – couched with both direct and veiled threats of




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        termination, and Mr. Gazani’ subsequent write-ups within the following days. 1

78.     Plaintiff restates the findings in Cardenas 269 F.3d 251 above, and reiterates his prior

        contention that 1981 claims and Title VII claims are examined under the same lenses

        pursuant to Shackleford, and as such, would assert that a cause for retaliation under 1981

        falls under the same burdens as a cause for retaliation under Title VII. Hence, no

        alteration should be required in its prosecution. Shackelford v. Deloitte & Touche, LLP,

        190 F.3d 398, 403 n.2 (5th Cir. 1999) (noting that Section 1981 claims and Title VII

        claims use the same burdens of proof and analysis.)

79.     Plaintiff would again seek to bring this charge of Retaliation against his managers

        individually, as they acted directly in bringing about the intentional infringement of his

        rights which were protected under 42 U.S.C. 1981. 2

80.     To successfully bring a claim of retaliation, the complainant must generally establish

        that 1) he or she engaged in activity protected by the statute; 2) that the

        employer took an adverse employment action against him or her; and 3) a causal

        connection exists between the protected activity and the adverse employment action.

        (Emphasis added) Gee v. Principi, 289 F.3d 342, 345 (5th Cir. 2002)(Title VII);

        Davis v. Dallas Area Rapid Transit, 383 F.3d 309 (5thCir.              2004)(retaliation     under

         42   U.S.C.    §1981); Hernandez v. Crawford Building Material Co., 321 F.3d 528

        (5th Cir. 2003)(ADEA); 42 U.S.C. §12203(a), (b) (Americans with Disabilities Act).




        1
          The amount of time between an employee’s protected activity and the adverse employment
action is “part of the analysis” with respect to whether an employee can establish the necessary causal
connection. Gee, 289 F.3d 346 n.3 (quoting Shirley v. Chrysler First, Inc., 970 F.2d 39, 44 (5th Cir.
1992)). Timing can be a relevant factor in determining whether a causal connection exists where the
timing is “suspiciously proximate.” Fabela, 329 F.3d 417 n.9.
        2
         See Cardenas v. Massey, 269 F.3d 251, 268 (3d Cir. 2001); Al-Khazraji v. Saint Francis College, 784
F.2d 505, 518 (3d Cir. 1986)

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81.    ENGAGEMENT. The Fifth Circuit defines protected activity as “opposition to

       any practice rendered unlawful by Title VII, including making a charge, testifying,

        assisting   or   participating    in   any investigation, proceeding or hearing under

       Title VII.” Ackel v. Nat’l Communs., Inc., 339 F.2d 376, 385 (5thCir. 2003).

       More simply, “Title VII prohibits an employer from retaliating against an employee

       because that employee     has     complained   about   acts     of discrimination at work.”

       Manning v. Chevron Chem. Co.,LLC, 332 F.3d 874 (5th Cir. 2003).

82.    An employee’s use of an employer’s internal administrative process to file an

       employment discrimination complaint is “clearly protected activity” for purposes of a

       retaliation claim. Fierros v. Tex. Dep’t of Health, 274 F.3d 187, 194 (5th Cir. 2001).

83.    Moreover, a plaintiff is not required to establish an actual violation of Title VII (or

       1981) to invoke the protections of the anti-retaliation provisions. Rather, a plaintiff

       only needs show that a charge was made, a complaint was submitted, or that

       participation in investigation of a claim occurred. Green v. Administrators of

       Tulane Educational Fund, 284 F.3d 642, 657 (5th Cir. 2002).             (A plaintiff’s

       reasonable belief that she was in the process of being terminated because of her

       gender and made a complaint is sufficient for a retaliation claim.) Id.

84.    ADVERSE ACTION. Although the Fifth Circuit generally applies Title VII

       holdings to claims brought under §1981, the definition of adverse employment

       decision is broader under §1981.        Under §1981, reprimands, disciplinary filings

       and transfers that are “equivalent to demotions” may be considered adverse

       employment actions. Banks, 320 F.3d at 580; Erves, 2004 WL 904122. Plaintiff would

       allege that his termination qualifies as an “adverse action”.




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85.    CAUSAL CONNECTION. The final element of a plaintiff’s prima facie case requires

       a plaintiff to establish a causal connection between his or her protected activity

       and the adverse employment action suffered.        This causal link “need not rise to the

       level of a ‘but for’ standard.’” Gee, 289 F.3d at 345 (quoting Raggs v. Miss. Power

       & Light Co., 278 F.3d 463, 471 (5th Cir. 2002)).         Nor does a plaintiff need to

       prove that “her protected activity was the sole factor motivating the employer’s

       challenged decision in order to establish the ‘causal link’ element of a prima facie

       case.” Id. (quoting Long v. Eastfield Coll., 88 F.3d 300, 305 n.4 (5th Cir. 1996)). In

       fact, the causal link element is “much less stringent” than the “but for” causation

       standard to be presented to a jury for determination. Banks-Jones v. Hilton

       Reservations Worldwide, LLC, 2004 WL 190266 (N.D. Tex. 2004)(quoting

       Montemayor v. City of San Antonio, 276 F.3d 687, 692 (5th Cir. 2001)).


                              VI. INFERENCE OF PRETEXT

86.    Where, as here, the plaintiff makes out a prima facie case of discrimination, and

       retaliation, the defendant must articulate a legitimate non-discriminatory reason for the

       adverse employment decision. See Baker, 430 F.3d at 754-55. After the employer does

       so, “any presumption of [discrimination] drops from the case” and the burden shifts back

       to the employee to establish that the employer’s “stated reason is actually a pretext for

       [discrimination].” Baker, 430 F.3d at 755 (quoting Septimus, 399 F.3d at 610-11).

87.    An employer’s failure to follow its own policies or normal practices may be evidence of

       pretext. For example, when an employer has a disciplinary system that involves

       warnings, failure to follow that system may give rise to inferences of pretext. Goudeau v.

       Nat’l Oilwell Varco, L.P., 793 F.3d 470, 477 (5th Cir. 2015).




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88.      By and through the above arguments, Plaintiff’s claims shall survive summary judgment.3


                                               VII.      DAMAGES

89.      The damages under Section 1981 consist of back-pay, front-pay (or reinstatement),

         compensatory damages, punitive damages, attorney’s fees, and costs. Each component is

         explained below. There is no cap, as there are with Title VII claims.

90.      BACK PAY. Prevailing claimants under the anti-discrimination laws may recover lost

         back-pay and benefits. See Miller v. Raytheon Co., 716 F.3d 138, 146 (5th Cir. 2013).

         The purpose of back pay is to “make whole the injured party by placing that individual in

         the position he or she would have been in but for the discrimination.” Sellers v. Delgado

         Cmty. Coll., 839 F.2d 1132, 1136 (5th Cir. 1988).

91.      FRONT PAY. “Front pay refers to future lost earnings.” Wal-Mart Stores v. Davis, 979

         S.W.2d 30, 45 (Tex. App.–Austin 1998, pet. denied). Regarding the calculation of front-

         pay, the Fifth Circuit has stated that “[f]ront pay is . . . calculated from the date of

         judgment to age 70, or the normal retirement age, and should reflect earnings in

         mitigation of damages.” Patterson, 90 F.3d at 936 n. 8 (citing J. Hardin Marion, Legal

         and Equitable Remedies Under the Age Discrimination in Employment Act, 45

         MD.L.REV. 298, 330–334 (1986)). See also Blum v. Witco Chem. Corp., 829 F.2d 367,

         374 (3d Cir. 1987) (“In calculating a front pay award, the jury must consider the expected

         future damages caused by defendant’s wrongful conduct from the date of judgment to

         retirement.”).




         3
           See, e.g., Haire v. Board of Sup’rs of La. State Univ. Agricultural & Mech. Coll., 719 F.3d 356, 365 n. 10
(5th Cir. 2013) (reversing summary judgment for the employer in a discrimination case, and holding that,
“[e]vidence demonstrating that the employer’s explanation is false or unworthy of credence . . . is likely to support an
inference of discrimination even without further evidence of defendant’s true motive.”) (italics in original)

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92.    COMPENSATORY DAMAGES. Mr. Gazani has suffered future pecuniary losses,

       emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and

       other non-pecuniary losses, for which he seeks recovery in this lawsuit under Section

       1981 and Title VII. See, e.g., Salinas v. O'Neill, 286 F.3d 827, 833 (5th Cir. 2002)

       (affirming $150,000.00 compensatory damages award under Section 1981 where the

       plaintiff did not receive a position because of his race); 42 U.S.C. § 1981A(a)(1)

       (providing for compensatory damages for such harms under Title VII).

93.    PUNITIVE DAMAGES. Defendant acted with malice and reckless indifference to Mr.

       Gazani federally protected civil rights, thus justifying awards of punitive damages under

       Section 1981 and Title VII. See, e.g., Abner v. Kansas City Southern Railroad Co., 513

       F.3d 154, 164 (5th Cir. 2008) (affirming $125,000.00 punitive damages awards to each

       plaintiff under Section 1981, even though each plaintiff was awarded only $1.00 in actual

       damages, and strongly suggesting that any punitive damages award up to $300,000.00 per

       plaintiff would have been appropriate even in the absence of any actual damages);

       Hampton v. Dillard Dept. Stores, 18 F. Supp. 2d 1256 (D. Kan. 1998) (awarding the

       plaintiff $1,100,000 in punitive damages in a Section 1981 race discrimination case); 42

       U.S.C. § 1981A(a)(1) (providing for punitive damages under Title VII when the

       discrimination is shown to be with “malice or reckless indifference”). In Kolstad v.

       American Dental Ass’n, 527 U.S. 526, 119 S. Ct. 2118 (1999) the U.S. Supreme Court,

       interpreting Title VII, held that to satisfy the “malice or reckless indifference”

       requirement, the plaintiff does not have to prove that the violation was egregious or

       outrageous. Id. at 535-36.

94.    Rather, all that is required is proof that the employer knew that is was acting in the face of

       a perceived risk that its actions were in violations of the law’s prohibition against



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       discrimination. Id.; see also Schexnayder v. Bonfiglio, 167 Fed. Appx. 364, 368 (5th Cir.

       2006) (“a jury may award punitive damages pursuant to Title VII merely if the employer

       knew it may have been violating the law.”) (italics in original). Finally, unlike Title VII

       claims, there is no cap on the amount of compensatory or punitive damages a successful

       plaintiff can recover for claims filed under Section 1981.

95.    ATTORNEY’S FEES. Attorneys fees are recoverable to a prevailing plaintiff under

       Section 1981 and Title VII. See Miller, 716 F.3d at 149 (affirming an award of attorneys’

       fees of $488,437.08 to the plaintiff in a single-plaintiff discrimination case that arose in

       Dallas); Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010) (affirming

       an award of attorneys’ fees of $428,421.75 to the plaintiff in a single-plaintiff

       discrimination failure to promote case); Watkins v. Input/Output, Inc., 531 F. Supp. 2d

       777, 789 (S.D. Tex. 2007) (awarding prevailing plaintiff in a single-plaintiff

       discrimination case tried in Houston $336,010.50 in attorneys’ fees).

96.    Due to the Defendant’s unlawful discrimination, and subsequent retaliation, Mr. Gazani

       has experienced concrete economic harm in economic damages, as well as emotional

       distress.
                                     VIII. JURY DEMAND

97.    Mr. Gazani demands a trial by jury.

                   IX. NO QUALIFIED STATE IMMUNITY pursuant to
                     TEXAS GOVERNMENT CODE Title 5 § 554 et seq

98.     Sec. 554.0035. WAIVER OF IMMUNITY. A public employee who alleges a violation

       of this chapter may sue the employing state or local governmental entity for the relief

       provided by this chapter. Sovereign immunity is waived and abolished to the extent of

       liability for the relief allowed under this chapter for a violation of this chapter.




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                                  X.    REQUEST FOR AUDIT

99.     Pursuant to Sec. 554.010, Ms. Anderson hereby requests that the City of Waller, and all

        of its agents, officers, Council members, and representatives in any official capacity, be

        subject to an audit by the Auditor of the State of Texas. ( See Texas Government Code,

        Sec. 321.013 )

                                           XI. PRAYER

100.    Mr. Gazani asks that he be awarded a judgment against PinnacleART, Joe Tankhart in his

        individual capacity, and Gary Bohm in his individual capacity, for the following:

        a.     Actual damages including but not limited to pecuniary losses, non-pecuniary

               losses, Back-Pay, Front Pay, Compensatory Damages, and, Punitive Damages;

               in the sum of $450,000.00; and,

        b.     Prejudgment and post-judgment interest;

        c.     Attorney’s fees and court costs; and,

        d.     All other relief to which Plaintiff is entitled.


                                                       Respectfully Submitted,

                                                              /s/Julian Frachtman
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